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Exhibit 91
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From
Date: August 9, 2017 at 9:38:42 AM EDT
To: ext-Jamie_handley_atlasair_com <Jamie.handley@atlasair.com>,

Cc: "Dietrich, John W." <JDIETRICH@AtlasAir.com>,
Subject: RE: Flt

Jamie,

Thanks for the additional research as this was a delay that could have been avoided for sure.

Secondly, as you are aware we had one sick call and one Fatigue call this morning on the crews for the
spare aircraft which delayed the flexibility of the spare coverage as we had to wait for another crew
from the Hotel.

Regards




From: Handley, Jamie [mailto:Jamie.handley@atlasair.com]
Sent: Wednesday, August 09, 2017 9:30 AM
To:
Cc:                        ; Dietrich, John W.
Subject: RE: Flt




Working the post-mortem right now. Will get you a recap as soon as possible.

Best Regards

Jamie

From:
Sent: Wednesday, August 09, 2017 9:27 AM
To: Handley, Jamie
Cc:                      ; Dietrich, John W.
Subject: FW: Flt
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